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                   IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

    In re:                                                 Chapter 11

    CAESARS ENTERTAINMENT                                  Case No. 15-01145 (ABG)
    OPERATING COMPANY, INC., et al.,
                                                           Jointly Administered
                             Debtors.
                                                           Re: ECF No. 7785

             REPLY IN SUPPORT OF EARL OF SANDWICH’S MOTION TO COMPEL
                 PRODUCTION OF DOCUMENTS BY WHITEBOX ADVISORS

             Earl of Sandwich (Atlantic City), LLC submits this reply in support of its motion to compel

the production of documents by Whitebox Advisors LLC, pursuant to Rule 37, and respectfully

states:1

I.           DOCUMENTS CONCERNING THE A&R AGREEMENT ARE RELEVANT TO
             THE UNDERLYING BREACH OF CONTRACT CLAIM

             1.     In its motion, Earl stated the subject requests are relevant to Cowen’s view on the

existence or non-existence of the alleged Earl-Cowen agreement on which the underlying

contested matter is premised, prior to Cowen’s and Whitebox’s entry into the A&R Agreement

[ECF No. 7827-1], which agreement requires Cowen to cooperate with Whitebox in the underlying

contested matter with Earl. (A&R Agreement §§ 8.b, 15.) Earl further noted that Danny Phillips’

e-mail (Mintz Letter Ex. B) provides some insight into what Cowen thought about that alleged

agreement in February 2017, but that Earl should also be given access to Cowen-Whitebox

correspondence concerning the A&R Agreement from April 26, 2017 to June 19, 2017 to get

further disclosure on that issue. (Motion ¶¶14, 29.)




1
 Capitalized terms used but not defined herein have the meanings ascribed to them in Earl’s
motion.
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       2.      Whitebox argues documents responsive to the requests at issue are not relevant

because they were created/exchanged three to six months after the communications on which its

claim is premised. (Obj. pp.4-5.) Specifically, Whitebox states that because Earl testified that its

negotiations with Cowen concluded in January 2017, communications between Cowen and

Whitebox that followed “cannot be relevant to Cowen’s state of mind … at the time of the

transaction.” (Id. p.5.)

       3.      That is false, and Mr. Phillips’ e-mail is a good example why. That e-mail states

that Cowen has “taken all reasonable actions” to move the matter forward but that “upon review

of this matter, we do not believe that any further action would be productive or is practical in this

instance.” (Mintz Letter Ex. B.) In other words, on review of the matter, Cowen’s internal counsel

did not think it made sense to seek to enforce an alleged Earl-Cowen agreement. Negotiations

concerning, inter alia, the scope of the release in the A&R Agreement or representations therein

may likewise provide further information as to what Cowen believed concerning the existence or

non-existence of an Earl-Cowen agreement documented by the January 11-12, 2017 e-mails.

       4.      Significantly, notwithstanding Whitebox’s representation that “discovery should be

pretty limited in scope” (Nov. 15, 2017 Hr’g Tr. p.11, annexed hereto as Ex. 1), Whitebox insisted

that the relevant time period cover nearly a full year (Ex. 2 hereto), and Earl agreed to produce

documents from that period. Whitebox’s attempt to limit the temporal scope of its own production

to a much shorter period is inappropriate.

       5.      Whitebox also argues the A&R Agreement’s integration clause precludes discovery

into pre-agreement communications, under the so-called four corners rule. (Obj. pp.5-7.) That

argument, however, ignores that Earl is not seeking discovery in an attempt to vary the A&R

Agreement’s terms. Rather, Earl seeks discovery on Cowen’s position on the alleged Earl-Cowen

agreement, and believes communications concerning the A&R Agreement are likely to include
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evidence on that issue. Whitebox cites no authority for its position that an integration clause in a

contract is a valid basis for precluding discovery into matters unrelated to its interpretation.

II.    DOCUMENTS CONCERNING THE A&R AGREEMENT ARE RELEVANT TO
       EARL’S CHAMPERTY DEFENSE

       6.      Whitebox states Earl is not entitled to documents relevant to its champerty defense

because “champerty is not an issue pending before this court—nor would it be a defense to the

present contested issue.” (Obj. p.10.) Whitebox offers several arguments in support, all of which

fail. (Id. pp.11-12.)

       7.      Whitebox argues “champerty is not a proper defense” under Rule 3001(e)(2). That

argument fails because this entire contested matter is premised on the assignment of the bankruptcy

claim from Cowen to Whitebox being valid under New York law, which governs the A&R

Agreement, as the trade confirmation (Seyfried Decl. Ex. B) does not confer standing on Whitebox

to take action against Earl (which is why Whitebox entered into the A&R Agreement). If the

assignment under the A&R Agreement is void on the ground of champerty, Whitebox lacks

standing to enforce any conceivable contractual right belonging to Cowen.

       8.      Whitebox next argues Earl is not entitled to documents relevant to its champerty

defense because “Earl has not raised champerty as a defense to the Notice of Transfer” and “a

discovery motion is not the proper place to raise a potential litigation defense.” Earl concedes

champerty was not raised in its preliminary objection, filed October 18, 2017 [ECF No. 7550]

(although standing was, see ¶6). However, that is because the A&R Agreement was not produced

until December 28, 2017, and hence Earl had no way of knowing it “and all matters arising out of

or relating to it” (A&R Agreement § 14) are governed by New York law. Earl e-mailed Whitebox

the next day advising it of this champerty issue. See Ex. 3 hereto (“let me know when you are

available to discuss: … Your good faith basis for maintaining this litigation in light of New York’s


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champerty statute”). In any event, this is not an adversary proceeding, where defenses are waived

if not raised in an answer, and Earl otherwise lacked the opportunity to assert this defense herein.

       9.      Whitebox further argues Earl is not entitled to discovery on its champerty defense

because Earl’s substantive position lacks merit. Specifically, Whitebox states Earl’s assertion that

N.Y. Judiciary Law § 489(1) prohibits the assignment of claims “with the intent and for the primary

purpose of bringing a lawsuit” (Motion n.1, second sentence) is wrong because “a champerty claim

requires that the sole purpose of the acquired claim be litigation.” (Obj. p.11.) That is wrong.

The language used in Earl’s footnote is a direct quote from Justinian Capital SPC v. WestLB AG,

28 N.Y.3d 160 (2016) (first paragraph of decision). Indeed, the language quoted in Whitebox’s

objection reiterates as much. Id. at 167 (quoting Bluebird Partners v. First Fid. Bank, 94 N.Y.2d

726, 736 (2000)) (“the foundational intent to sue on that claim must at least have been the primary

purpose for … entering into the transaction”); see also id. (citing Trust for the Certificate Holders

of Merrill Lynch Mortg. Invs., Inc. v. Love Funding Corp., 13 N.Y.3d 190, 198-99 (2009))

(“The primary purpose test … has been echoed in our courts for well over a century”).

       10.     Whitebox goes on to quote language from Love Funding suggesting assignment of

a claim is not per se champertous for its position. (Obj. pp.11-12.) However, Love Funding dealt

with the limited question of whether “a party commit[s] champerty when it ‘buys a lawsuit’ that it

could not otherwise have pursued if its purpose is thereby to collect damages for losses on a debt

instrument in which it holds a pre-existing proprietary interest.” 13 N.Y.3d at 198 (listing questions

certified by Second Circuit, emphasis added). Love Funding did not eliminate the statutory

champerty defense, and the New York Court of Appeals made clear in Justinian Capital that the

defense is alive and well when it held the assignment there champertous, notwithstanding its

having held seven years prior in Love Funding that assignment of a claim to a securitization trust

that carried risk of financial loss associated with a defaulted mortgage loan was not champertous.
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In short, Earl has a potentially meritorious champerty defense for reasons set forth in Motion n.1—

Whitebox did not acquire a proprietary interest in Earl’s claim or take on risk of financial loss on

receipt of the trade confirmation (Seyfried Declaration Ex. B)—and is therefore entitled to

discovery concerning the A&R Agreement.

III.   WHITEBOX WAIVED ITS RELEVANCE OBJECTION

       11.     In its motion, Earl argued Whitebox waived its relevance objection by failing to

assert it in its responses and objections, pursuant to Rule 34(b)(2)(A), let alone with specificity,

pursuant to Rule 34(b)(2)(B). (Motion ¶¶21-23.) Whitebox does not dispute as much, but instead

states it should be excused because “Earl did not raise its concerns … until the end of the meet and

confer process and did not ask for formal amendment to the written responses” and Whitebox

further “act[ed] in good faith to respond to discovery requests and meet and confer.” (Obj. pp.9-

10.)

       12.     That argument fails. As noted in Jackson v. Clarkson Eyecare, Inc., No. 10-cv-178,

2010 WL 5014315, at *1 (S.D. Ill. Dec. 3, 2010), “it is axiomatic that any objection not specified

[in responses and objections] is waived if not timely lodged.” This flows from the plain language

of Rule 34, which requires that responses and objections be served within 30 days (subdivision

(A)), that each request be responded to and that the response “must” either state production will

be allowed or an objection (with specificity as of 2015, subdivision (B)), and that any production

be made responsive to any request not objected to (subdivision (C)). Id. No exception exists where

a party subsequently confers in good faith, and supplements its objections during that process;

Rule 37(a)(1) and Local Rule 7037-1 independently require that parties confer in good faith.

The sole authority cited by Whitebox (Obj. p.10) is inapposite, as it dealt with waiver of claims of

privilege, as opposed to waiver of objections required to be timely asserted pursuant to Rule 34.



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IV.    THAT RESPONSIVE DOCUMENTS INCLUDE PRIVILEGED DOCUMENTS IS
       NOT A VALID BASIS FOR DENYING DISCLOSURE

       13.     Whitebox argues the motion should be denied because one-third of documents

responsive to the subject requests are protected from disclosure by privilege. (Obj. pp.7-8.) Earl

understands some subset of responsive documents may be privileged, but made clear in its moving

papers that it is not seeking those documents. (Motion Ex. 1, ¶3.)        Rule 26(b)(5)(A) protects

privileged documents from disclosure in any event, obviating the need for Earl to specify it is

seeking only non-privileged documents in its requests for production. There is no reason why

Whitebox cannot prepare responsive documents for production, and produce all non-privileged

documents together with a privilege log.

       WHEREFORE, Earl requests that the Court enter an order compelling disclosure and grant

Earl such other and further relief as this Court deems just and proper.

Dated: March 8, 2018                                 Respectfully submitted,

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